Dear Assessor Core:
The Louisiana Tax Commission has received a letter from Chief Deputy Assessor — Services Daryl R. Brown, County of Ventura, California, dated April 27, 1995 (copy enclosed), advising and confirming that the Robert Lord having homestead exemption at 5253 Sealane Way, Oxnard, California, is in fact a different Robert Lord, attested by social security numbers of both Robert Lords. In addition, the Ventura County Assessor's Office advises that Robert and Penny Lord did have homestead exemption on their residence located at 1655 Hawksway Court, Westlake Village, Ventura County, California, until June 4, 1991, at which time The County Recorder's douments indicate that the Hawksway Court residence was sold and there currently exists no homestead exemption on file in the said county assessor's records for Robert and Penny Lord.
Therefore, based upon this information, Robert and Penny Lord are found to be entitled to a residential homestead exemption, pursuant to the 1974 Constitution, Article VII, Section 20 (A)(1), for their owner occupied residence located at 112 Monticello Court, Pearl River, Louisiana 70452.
Thanking you for your attention and assistance in correcting the St. Tammany Parish homestead exemption on behalf of Robert and Penny Lord, I remain,
Sincerely,
                                       Ann R. Laurence Executive Secretary
ARL/rb Enclosure
c: Mr. Daryl R. Brown, Ventura County Assessor's Office Mr. Robert and Penny Lord Chairman Malcolm B. Price, Jr.
OPINION NUMBER 95-60
March 3, 1995
                              4 — Assessors 119 — Taxation — Exemptions, General 148 — Taxation — Property Taxes — Liability of Person and Property Article VII, Section 21 (B)(1)(a)
General discussion of the criteria Honorable Charles A. Abels    to be considered in the Attention: Mr. Gene Williams  determination of the tax exempt Assessor Livingston Parish    status of St. John's University and P.O. Box 307                  the Congregational Church of Livingston, LA 70754          Practical Theology.